            Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 1 of 22




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


ADRIAN BACON, on behalf of himself and all
others similarly situated,                                   Case No. 1:20-cv-00043

                    Plaintiff,                               ORIGINAL CLASS ACTION
       v.                                                    COMPLAINT

ALL WEB LEADS, INC.
                                                             JURY TRIAL DEMANDED
                   Defendant.



                        ORIGINAL CLASS ACTION COMPLAINT

       COMES NOW Plaintiff Adrian Bacon (hereinafter referred to as "Bacon" or “Plaintiff”),

on behalf of himself and all similarly situated individuals, and alleges on personal knowledge,

investigation of his counsel, and on information and belief, the following claims against All Web

Leads, Inc. ("AWL" or "Defendant"):

                                       INTRODUCTION

       1.       This case involves Defendant All Web Leads’ use of dishonest marketing practices

in order to gain access to consumers’ cellular phone numbers for purposes of placing “tens of

thousands” of autodialed telemarketing calls to those consumers for the benefit of Defendant and

its insurance industry customers. As described more fully below, Defendant owns and operates

various websites that are devoted to offering insurance quotes for specific types of insurance that

consumers allegedly search for over the Internet. Through one of Defendant’s websites and/or

third-party call centers, Defendant unlawfully obtained the cell phone numbers of Plaintiff and the

Class (as defined below) for purposes of making autodialed telemarketing calls to Plaintiff and the

Class without their prior express written consent for the benefit of Defendant and its insurance



                                                1
            Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 2 of 22




industry customers in plain violation of the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227 et seq.

       2.       Plaintiff brings this class action against Defendant to secure redress because

Defendant willfully violated the TELEPHONE CONSUMER PROTECTION ACT (“TCPA”),

47 U.S.C § 227, et seq. and invaded Plaintiff’s privacy by causing unsolicited calls to be made to

Plaintiff’s and other class members’ cellular telephones through the use of an auto-dialer and/or

artificial or pre-recorded or artificial voice message.

       3.       Defendant made one or more unauthorized calls to Plaintiff’s cell phone using an

automatic telephone dialing system (“ATDS”) and/or a pre-recorded voice for the purpose of

soliciting business from Plaintiff.

       4.       Additionally, the TCPA and its accompanying regulations prohibit telemarketers

from making telephone solicitations to persons who have listed their telephone numbers on the

National Do-Not-Call Registry, a database established to allow consumers to exclude themselves

from telemarketing calls unless they consent to receive the calls in a signed, written agreement.

       5.       Plaintiff Adrian Bacon is one of the millions of consumers who have listed

telephone numbers on the National Do-Not-Call Registry. Nonetheless, he has received numerous

telemarketing sales calls on his cell phone made by, or on behalf of, Defendant.

       6.       The TCPA was enacted to protect consumers from unsolicited telephone calls

exactly like those alleged in this case. In response to Defendant’s unlawful conduct, Plaintiff

seeks an injunction requiring Defendant to cease all unsolicited telephone calling activities to

consumers, and an award of statutory damages to the members of the Class under the TCPA equal

to $500.00 per violation, together with court costs, reasonable attorneys’ fees, and treble damages

(for knowing and/or willful violations).




                                                 2
         Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 3 of 22




                                            PARTIES

       7.    Plaintiff ADRIAN BACON is a natural person and citizen of Orange, California.

       8.    Defendant, ALL WEB LEADS, INC. is a corporation existing under the laws of the

State of Delaware with its principal place of business in Austin, Texas. Defendant may be served

with process through service upon its registered agent, C T Corporation System, 1999 Bryan St.,

Ste. 900, Dallas, Texas 75201-3136.

       9.    Plaintiff does not yet know the identity of Defendant’s employees/agents that had

direct, personal participation in or personally authorized the conduct found to have violated the

statute, and were not merely tangentially involved. They are named tentatively, as numerous

District Courts have found that individual officers/principals of corporate entities may be

personally liable (jointly and severally) under the TCPA if they had direct, personal participation

in or personally authorized the conduct found to have violated the statute, and were not merely

tangentially involved. Texas v. American Blastfax, Inc., 164 F.Supp.2d 892, 899 (W.D. Tex.

2001) (“American Blastfax”); Sandusky Wellness Center, LLC v. Wagner Wellness, Inc., 2014

WL 1333472, at * 3 (N.D. Ohio March 28, 2014); Maryland v. Universal Elections, 787

F.Supp.2d 408, 415-16 (D.Md. 2011) (“Universal Elections”); Baltimore-Washington Tel Co. v.

Hot Leads Co., 584 F.Supp.2d 736, 745 (D.Md. 2008); Covington & Burling v. Int’l Mktg. &

Research, Inc., 2003 WL 21384825, at *6 (D.C.Super Apr. 17, 2003); Chapman v. Wagener

Equities, Inc. 2014 WL 540250, at *16-17 (N.D.Ill. Feb. 11, 2014); Versteeg v. Bennett, Deloney

& Noyes, P.C., 775 F.Supp.2d 1316, 1321 (D.Wy.2011) (“Versteeg”). Upon learning of the

identities of said individuals, Plaintiff will move to amend to name the individuals as defendants.

       10.   Whenever in this complaint it is alleged that Defendant committed any act or

omission, it is meant that the Defendant’s officers, directors, vice-principals, agents, servants, or




                                                 3
            Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 4 of 22




employees, subsidiaries, or affiliates committed such act or omission and that at the time such act

or omission was committed, it was done with the full authorization, ratification or approval of

Defendant or was done in the routine normal course and scope of employment of the Defendant’s

officers, directors, vice-principals, agents, servants, or employees.

                                 JURISDICTION AND VENUE

       11.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331, as this action

arises under the TCPA, which is a federal statute.

       12.     The Court has personal jurisdiction over Defendant because it conducts significant

business in this District, and the unlawful conduct alleged in this Complaint occurred in, was

directed to, and/or emanated from this District.

       13.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the

wrongful conduct giving rise to this case occurred in, was directed to, and/or emanated from this

District.

       14.      Defendant is subject to specific personal jurisdiction in this District because it has

continuous and systematic contacts with this District through its telemarketing efforts that target

this District, and the exercise of personal jurisdiction over Defendant in this District does not

offend traditional notions of fair play or substantial justice.

                                 LEGAL BASIS FOR CLAIMS

       15.      In 1991, Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing…can

be an intrusive invasion of privacy…” Telephone Consumer Protection Act of 1991, Pub. L. No.

102-243 § 2(5) (1991) (codified at 47 U.S.C. § 227).




                                                   4
              Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 5 of 22




          16.       Specifically, the TCPA restricts telephone solicitations (i.e., telemarketing) and the

    use of automated telephone equipment. The TCPA limits the use of automatic dialing systems,

    artificial or prerecorded voice messages, SMS text messages, and fax machines. It also specifies

    several technical requirements for fax machines, autodialers, and voice messaging systems—

    principally with provisions requiring identification and contact information of the entity using the

    device to be contained in the message.

          17.       In its initial implementation of the TCPA rules, the FCC included an exemption to

    its consent requirement for prerecorded telemarketing calls. Where the caller could demonstrate

    an “established business relationship” with a customer, the TCPA permitted the caller to place

    pre-recorded telemarketing calls to residential lines. The new amendments to the TCPA, effective

    October 16, 2013, eliminate this established business relationship exemption. Therefore, all pre-

    recorded telemarketing calls to residential lines and all ATDS calls to wireless numbers violate

    the TCPA if the calling party does not first obtain express written consent from the called party.

          18.       As of October 16, 2013, unless the recipient has given prior express written

    consent,1 the TCPA and Federal Communications Commission (FCC) rules under the TCPA

    generally:

          •      Prohibits solicitors from calling residences before 8 a.m. or after 9 p.m., local time.

          •      Requires solicitors provide their name, the name of the person or entity on whose behalf

                 the call is being made, and a telephone number or address at which that person or entity

                 may be contacted.



1
  Prior express written consent means “an agreement, in writing, bearing the signature of the person called that
clearly authorizes the seller to deliver or cause to be delivered to the person called advertisements or telemarketing
messages using an automatic telephone dialing system or an artificial or prerecorded voice, and the telephone
number to which the signatory authorizes such advertisements or telemarketing messages to be delivered. 47 C.F.R.
§ 64.1200(f)(8).


                                                          5
          Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 6 of 22




      •     Prohibits solicitations to residences that use an artificial voice or a recording.

      •     Prohibits any call or text made using automated telephone equipment or an artificial or

            prerecorded voice to a wireless device or cellular telephone.

      •     Prohibits any call made using automated telephone equipment or an artificial or

            prerecorded voice to an emergency line (e.g., "911"), a hospital emergency number, a

            physician's office, a hospital/health care facility/elderly room, a cellular telephone, or

            any service for which the recipient is charged for the call.

      •     Prohibits autodialed calls that engage two or more lines of a multi-line business.

      •     Prohibits unsolicited advertising faxes.

      •     Prohibits certain calls to members of the National Do Not Call Registry.

      19.      Furthermore, in 2008, the FCC held that “a creditor on whose behalf an autodialed

or prerecorded message call is made to a wireless number bears the responsibility for any violation

of the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer

Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23 FCC

Rcd. 559, 565, ¶ 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL 7062748

(Dec. 31, 2012).

      20.      Accordingly, the entity can be liable under the TCPA for a call made on its behalf,

even if the entity did not directly place the call. Under those circumstances, the entity is deemed

to have initiated the call through the person or entity.

      21.      There are just a handful of elements that need to be proven for violations of the Do

Not Call provision of the TCPA:

                                DO NOT CALL VIOLATIONS OF THE TCPA




                                                   6
          Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 7 of 22




     22.        More Than One Call within Any 12 Month Period. 47 U.S.C. § 227(c) provides that

any “person who has received more than one telephone call within any 12-month period by or

on behalf of the same entity in violation of the regulations prescribed under this subsection may”

bring a private action based on a violation of said regulations, which were promulgated to protect

telephone subscribers’ privacy rights to avoid receiving telephone solicitations to which they

object.

     23.        Calls to Residential Lines on the Do Not Call List. The TCPA’s implementing

regulation—47 C.F.R. § 64.1200(c)—provides that “[n]o person or entity shall initiate any

telephone solicitation” to “[a] residential telephone subscriber who has registered his or her

telephone number on the national do-not-call registry of persons who do not wish to receive

telephone solicitations that is maintained by the federal government.” See 47 C.F.R. §

64.1200(c).

     24.        Or, Wireless Lines on the Do Not Call List. Owners of wireless telephone numbers

(aka mobile or cellular phones) receive the same protections from the Do Not Call provision as

owners or subscribers of wireline (“landline”) phone numbers. 47 C.F.R. § 64.1200(e), provides

that 47 C.F.R. §§ 64.1200(c) and (d) “are applicable to any person or entity making telephone

solicitations or telemarketing calls to wireless telephone numbers to the extent described in the

Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules and Regulations

Implementing the Telephone Consumer Protection Act of 1991,’” which the Report and Order,

in turn, provides as follows:


          The Commission’s rules provide that companies making telephone solicitations
          to residential telephone subscribers must comply with time of day restrictions
          and must institute procedures for maintaining do-not-call lists. For the reasons
          described above, we conclude that these rules apply to calls made to wireless
          telephone numbers. We believe that wireless subscribers should be afforded the
          same protections as wireline subscribers.


                                                 7
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 8 of 22




     25.     The Affirmative Defense of Prior Express Consent. The Ninth Circuit has defined

“express consent” to mean “clearly and unmistakably stated.” Satterfield v. Simon & Schuster,

Inc., 569 F.3d 946, 955 (9th Cir. 2009) (“Satterfield”)). “Prior express consent is an affirmative

defense for which the defendant bears the burden of proof.” See Grant v. Capital Management

Services, L.P., 2011 WL 3874877, at *1, n.1. (9th Cir. Sept. 2, 2011) (“express consent is not an

element of a TCPA plaintiff’s prima facie case, but rather is an affirmative defense for which the

defendant bears the burden of proof”); see also Robbins v. Coca-Cola Company, No. 13-cv-132,

2013 WL 2252646, at *2 (S.D. Cal. May 22, 2013).

                         COMMON FACUTAL ALLEGATIONS

     26.     Defendant advertises itself as the premier Customer Acquisition Marketing

business in the U.S. insurance industry that delivers consumers or “leads” to its insurance

industry customers every day. Specifically, Defendant specializes in generating leads by placing

telemarketing calls to consumers who might be interested in purchasing insurance, and then

transferring those calls to customers of AWL, who are typically insurance agents.

     27.     Defendant’s business practices include making “tens of thousands” of autodialed

telemarketing calls to leads every day in order to inquire whether the consumer is interested in

purchasing insurance, check the accuracy of their contact information, and determine whether

the consumer is interested in speaking with an agent about their insurance needs. After Defendant

“qualifies” the lead, Defendant completes a live transfer of the consumer’s phone call to one of

its insurance industry customers.

     28.     One of the methods in which Defendant generates leads is through the utilization

of Internet marketing. Defendant owns and operates various websites that are devoted to offering




                                               8
        Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 9 of 22




insurance quotes for specific types of insurance that consumers search for over the Internet. One

of the websites that Defendant owns and operates is www.insurancequotes.com.

     29.     Upon information and belief, Defendant also engages and works with third-party

call centers to contact consumers who never inquired about insurance through any medium. In

one instance, a third party, utilizing a sophisticated automated voice response system, contacts

consumers and attempts to illicit a positive response from each when the computer asks whether

that individual is interested in receiving information about insurance. The computer then

immediately forwards the caller’s information as a positive hit to Defendant, who then places a

subsequent call to that consumer for the purpose of making a sales pitch. Defendant and/or the

third parties believe they have circumvented the TCPA and have legal consent to place the calls

to these individuals.

     30.     The problem is, on information and belief, the call center forwards contact

information for any live body who answers the call and communicates with the automated

system, regardless of whether that person gave valid consent to receive subsequent marketing

calls from Defendant. Furthermore, there is no question the initial calls from the call centers are

placed in violation of the TCPA. Therefore, the call centers (agents) are also liable for violating

the TCPA, as are the principals (Defendant).

     31.     In Defendant’s overzealous attempt to market its services, it placed (and continues

to place) phone calls to consumers who never provided consent to call and to consumers having

no relationship with Defendant. Worse yet, Defendant placed (and continues to place) repeated

and unwanted calls to consumers whose phone numbers are listed on the National Do Not Call

Registry. Consumers place their phone numbers on the Do Not Call Registry for the express

purpose of avoiding unwanted telemarketing calls like those alleged here.




                                               9
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 10 of 22




     32.     Defendant knowingly made (and continues to make) these telemarketing calls

without the prior express written consent of the call recipients. As such, Defendant not only

invaded the personal privacy of Plaintiff and members of the putative Class, but also

intentionally and repeatedly violated the TCPA.

                      FACTS SPECIFIC TO PLAINTIFF ADRIAN BACON

     33.     On or about March 20, 2013 Plaintiff registered his cellular phone number with the

area code (714) and ending in 1644 with the National Do Not Call Registry.

     34.     Plaintiff is the regular carrier and exclusive user of the telephone assigned the

number ending in 1644. The number is assigned to a cellular telephone service for which Plaintiff

is charged for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

     35.     Plaintiff has never had a business relationship with Defendant.

     36.     Plaintiff never provided Defendant with prior express consent to contact him on his

phone via a text message or a telephone call.

     37.     Nonetheless, Defendant called Plaintiff multiple times on his cell phone attempting

to sell Plaintiff insurance products.

     38.     Specifically, Plaintiff received two calls from a prerecorded voice avatar system.

Plaintiff did not stay on the line for the first call, but he did for the second one. The avatar said

“Hi my name is Justin calling from lowerinsurancerates.com” and asked Plaintiff if he was

looking to save 30% for auto insurance. The avatar asked Plaintiff a series of prequalifying

questions including Plaintiff’s name, vehicle year, make and model, if he owned a home, and

what his phone number was. The avatar then told Plaintiff it would transfer him to a specialist.

     39.     The call was then transferred to another system which asked a series of questions

and the avatar punched in answers to those questions automatically, as if it was typing




                                                10
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 11 of 22




information into some sort of online portal to try and make it look like Plaintiff had consented

online to receive these types of calls. Plaintiff was on the line as a silent observer throughout the

call and heard the entire process unfold. Once the information was “entered” in by the avatar,

the call was terminated.

     40.     Approximately one hour later Plaintiff received another call from a company in

Texas, who spoofed its number to show Plaintiff’s area code. The agent’s name was Melissa and

she told Plaintiff that she obtained his information from an online submission. Plaintiff corrected

the agent and explained that he never searched for or submitted any information online regarding

auto insurance and instead gave his information to a robodialer who called him on his cell phone.

     41.     The agent seemed unphased when Plaintiff told her a robodialer called him and she

continued to attempt to sell Plaintiff auto insurance.

     42.     Plaintiff asked the agent about her company and she gave him the URL

www.insurancequotes.com, which is one of the websites Defendant owns and operates.

     43.     Plaintiff believes the agent was calling in conjunction with the robodialer Plaintiff

had previously spoken to because the agent knew the year, make and model of Plaintiff’s car and

referred to Plaintiff only by his first name, not full name, which is the exact information Plaintiff

had just given the robodialer an hour earlier. There is no other avenue by which the agent could

have acquired this information.

     44.     All calls Defendant made to Plaintiff invaded Plaintiff’s privacy and violated 47

U.S.C. § 227(b)(1).

     45.     Plaintiff has reason to believe Defendant has called, and continues to call,

thousands of wireless telephone customers to market its products and services without consent

required by the TCPA.




                                                11
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 12 of 22




     46.     In order to redress injuries caused by Defendant’s violations of the TCPA, Plaintiff,

on behalf of himself and a class of similarly situated individuals, brings suit under the TCPA, 47

U.S.C. § 227, et seq., which prohibits certain unsolicited voice and text calls to cell phones.

     47.     On behalf of the Class, Plaintiff seeks an injunction requiring Defendant to cease

all wireless telemarketing and spam activities and an award of statutory damages to the class

members, together with costs and reasonable attorneys’ fees.

                                              STANDING

     48.     Plaintiff has standing to bring this suit on behalf of himself and the members of the

class under Article III of the United States Constitution because Plaintiff’s claims state: (a) a

valid injury in fact; (b) an injury which is traceable to the conduct of Defendant; and (c) is likely

to be redressed by a favorable judicial decision. See Spokeo v. Robins, 578 U.S. __ (2016) at 6;

Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

 A. INJURY IN FACT

     49.     Plaintiff’s injury must be both “concrete” and “particularized” in order to satisfy

the requirements of Article III of the Constitution. Id.

     50.     For an injury to be concrete it must be a de facto injury, meaning it actually exists.

In the present case, Plaintiff took the affirmative step of enrolling himself on the National Do-

Not-Call Registry for the purpose of preventing marketing calls to his telephone. Such

telemarketing calls are a nuisance, an invasion of privacy, and an expense to Plaintiff. See Soppet

v. enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012). All three of these injuries

are present in this case. See also Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir. 2016).

     51.     Furthermore, the Third Circuit recently stated, Congress found that “[u]nsolicited

telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the




                                                12
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 13 of 22




solitude of their recipients,” Van Patten, 847 F.3d at 1043, and sought to protect the same

interests implicated in the traditional common law cause of action. Put differently, Congress was

not inventing a new theory of injury when it enacted the TCPA. Rather, it elevated a harm that,

while “previously inadequate in law,” was of the same character of previously existing “legally

cognizable injuries.” Spokeo, 136 S.Ct. at 1549. Spokeo addressed, and approved, such a choice

by Congress. Susinno v. Work Out World Inc., No. 16-3277, 2017 WL 2925432, at *4 (3d Cir.

July 10, 2017).

      52.    For an injury to be particularized means that the injury must affect the plaintiff in a

personal and individual way. See Spokeo at 7. Furthermore, Plaintiff is the person who pays for

the phone, and is the regular carrier and user of the phone. All of these injuries are particular to

Plaintiff.

  B. TRACEABLE TO THE CONDUCT OF DEFENDANT

      53.    Plaintiff must allege at the pleading stage of the case facts to show that his injury

is traceable to the conduct of Defendant. In this case, Plaintiff satisfies this requirement by

alleging that Defendant, and/or agents of Defendant on behalf of Defendant, placed illegal calls

to Plaintiff’s phone.

      54.    In the instant case, Defendant placed calls to Plaintiff’s wireless/cellular phone on

at least January 31, 2019.

  C. INJURY LIKELY TO BE REDRESSED BY A FAVORABLE JUDICIAL OPINION

      55.    The third prong to establish standing at the pleadings phase requires Plaintiff to

allege facts to show that the injury is likely to be redressed by a favorable judicial opinion. In

the present case, Plaintiff’s Prayers for Relief include a request for damages for each call made

by Defendant, as authorized by statute in 47 U.S.C. § 227. The statutory damages were set by




                                               13
           Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 14 of 22




    Congress and specifically redress the financial damages suffered by Plaintiff and the members

    of the putative class. Furthermore, Plaintiff’s Prayers for Relief request injunctive relief to

    restrain Defendant from the alleged abusive practices in the future. The award of monetary

    damages and the order for injunctive relief redress the injuries of the past, and prevent further

    injury in the future.

          56.     Because all standing requirements of Article III of the U.S. Constitution have been

    met, as laid out in Spokeo, Inc. v. Robins, 578 U.S. ___ (2016) and in the context of a TCPA

    claim, as explained by the Ninth Circuit in Chen v. Allstate Inc. Co., 819 F.3d 1136 (9th Cir.

    2016), Plaintiff has standing to sue Defendant on the stated claims.

                                       CLASS ACTION ALLEGATIONS

      A. CLASS ALLEGATIONS

          57.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23(a), (b)(2),

    and (b)(3) on behalf of himself and the following class defined as follows (the “Classes”):


           “DNC2 Class”: All individuals in the United States who: (1) received more
           than one telephone call made by or on behalf of Defendant within a 12-month
           period; (2) to a telephone number that had been registered with the National Do
           Not Call Registry for at least 30 days; and (3) for whom Defendant has no record
           of consent to place such calls.
           “Artificial & Prerecorded Voice Class”: All individuals in the United States
           who received a call made by or on behalf of Defendant to the individual’s
           cellular telephone through the use of an automatic telephone dialing system, or
           pre-recorded voice, during the four years prior to the initiation of this action,
           where Defendant’s records fail to indicate prior express written consent from the
           recipient to make such call.
          58.     The following individuals are excluded from the Classes: (1) any Judge or

    Magistrate presiding over this action and members of their families; (2) Defendant,



2
  “DNC” referenced herein refers to the National Do Not Call Registry, established pursuant to 47 U.S.C. 227(c) and
the regulations promulgated by the Federal Communications Commission (“FCC”).


                                                        14
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 15 of 22




Defendant’s subsidiaries, parents, successors, predecessors, and any entity in which Defendant

or its parents have a controlling interest, and its current or former employees, officers, and

directors; (3) Plaintiff’s counsel and Defendant’s counsel; (4) persons who properly execute

and file a timely request for exclusion from the Class; (5) the legal representatives, successors

or assigns of any such excluded persons; and (6) persons whose claims against Defendant have

been fully and finally adjudicated and/or released.

      59.     This suit seeks only damages, statutory penalties, and injunctive relief for

recovery of economic injury on behalf of the Classes, and it expressly is not intended to request

any recovery for personal injury and claims related thereto.

      60.     Plaintiff reserves the right to expand the Class definitions to seek recovery on

behalf of additional persons as warranted as facts are learned in further investigation and

discovery.

      61.     Plaintiff and members of the Classes were harmed by Defendant’s acts in at least

the following ways: Defendant, either directly or through agents, illegally contacted Plaintiff

and the Class members via their telephones, after Plaintiff and the Class members took the

affirmative step of registering their numbers on the DNC, and/or contacted Plaintiff and

members of the Classes using a pre-recorded voice for telemarketing purposes without first

obtaining prior express consent.

  B. NUMEROSITY

      62.     The exact size of the Classes is unknown and not available to Plaintiff at this time,

but it is clear individual joinder is impracticable.




                                                15
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 16 of 22




     63.     On information and belief, Defendant made telephone calls to thousands of

consumers who fall into the definition of the Classes. Members of the Classes can be easily

identified through Defendant’s records.

 C. COMMONALITY AND PREDOMINANCE

     64.     There are many questions of law and fact common to the claims of Plaintiff and the

Classes, and those questions predominate over any questions that may affect individual members

of the Classes.

     65.     Common questions for the Classes include, but are not necessarily limited to the

following:

             (a)    Whether Defendant’s conduct violated the TCPA;

             (b)    Whether Defendant systematically made telephone calls to consumers who
                    did not previously provide Defendant and/or its agents with prior express
                    written consent to receive such phone calls during the four years prior to the
                    initiation of this action;

             (c)    Whether Defendant systematically made telephone calls to consumers
                    whose telephone numbers were registered with the National Do Not Call
                    Registry;

             (d)    Whether members of the Classes are entitled to treble damages based on the
                    willfulness of Defendant’s conduct;

             (e)    Whether Defendant and its agents should be enjoined from engaging in such
                    conduct in the future.
 D. TYPICALITY

     66.     Plaintiff’s claims are typical of the claims of the other members of the Classes.

     67.     Plaintiff and the Classes sustained damages as a result of Defendant’s uniform

wrongful conduct during transactions with Plaintiff and the Classes.

 E. ADEQUATE REPRESENTATION




                                              16
         Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 17 of 22




     68.     Plaintiff will fairly and adequately represent and protect the interests of the Classes,

and has retained counsel competent and experienced in complex class actions.

     69.     Plaintiff has no interest antagonistic to those of the Classes, and Defendant has no

defenses unique to Plaintiff.

 F. POLICIES GENERALLY APPLICABLE TO THE CLASSES

     70.     This class action is appropriate for certification because Defendant has acted or

refused to act on grounds generally applicable to the Classes as a whole, thereby requiring the

Court’s imposition of uniform relief to ensure compatible standards of conduct toward the

Classes members, and making final injunctive relief appropriate with respect to the Classes as a

whole.

     71.     Defendant’s practices challenged herein apply to and affect the Classes’ members

uniformly, and Plaintiff’s challenge of those practices hinges on Defendant’s conduct with

respect to the Classes as a whole, not on facts or law applicable only to Plaintiff.

 G. SUPERIORITY

     72.     This case is also appropriate for class certification because class proceedings are

superior to all other available methods for the fair and efficient adjudication of this controversy

given that joinder of all parties is impracticable.

     73.     The damages suffered by the individual members of the Classes will likely be

relatively small, especially given the burden and expense of individual prosecution of the

complex litigation necessitated by Defendant’s actions.

     74.     Thus, it would be virtually impossible for the individual members of the Class to

obtain effective relief from Defendant’s misconduct.




                                                17
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 18 of 22




     75.     Even if members of the Classes could sustain such individual litigation, it would

still not be preferable to a class action, because individual litigation would increase the delay and

expense to all parties due to the complex legal and factual controversies presented in this

Complaint.

     76.     By contrast, a class action presents far fewer management difficulties and provides

the benefits of single adjudication, economy of scale, and comprehensive supervision by a single

court. Economies of time, effort and expense will be fostered, and uniformity of decisions

ensured.

                                FIRST CAUSE OF ACTION
                             VIOLATION OF TCPA, 47 U.S.C. § 227
                                      (“DNC Claim”)

     77.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

though set forth at length herein.

     78.     47 U.S.C. § 227(c) provides that any “person who has received more than one

telephone call within any 12-month period by or on behalf of the same entity in violation of the

regulations prescribed under this subsection may” bring a private action based on a violation of

said regulations, which were promulgated to protect telephone subscribers’ privacy rights to

avoid receiving telephone solicitations to which they object.

     79.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—provides that

“[n]o person or entity shall initiate any telephone solicitation” to “[a] residential telephone

subscriber who has registered his or her telephone number on the national do-not-call registry of

persons who do not wish to receive telephone solicitations that is maintained by the federal

government.” See 47 C.F.R. § 64.1200(c).




                                                18
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 19 of 22




     80.     47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and (d) “are

applicable to any person or entity making telephone solicitations or telemarketing calls to

wireless telephone numbers to the extent described in the Commission’s Report and Order, CG

Docket No. 02-278, FCC 03-153, ‘Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991,’” which the Report and Order, in turn, provides as follows:


       The Commission’s rules provide that companies making telephone solicitations
       to residential telephone subscribers must comply with time of day restrictions
       and must institute procedures for maintaining do-not-call lists. For the reasons
       described above, we conclude that these rules apply to calls made to wireless
       telephone numbers. We believe that wireless subscribers should be afforded the
       same protections as wireline subscribers.
     81.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

telephone solicitations to wireless and residential telephone subscribers such as Plaintiff and the

DNC Class members who registered their respective telephone numbers on the National Do Not

Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

maintained by the federal government. These consumers requested to not receive calls from

Defendant, as set forth in 47 C.F.R. § 64.1200(d)(3).

     82.     Defendant made more than one unsolicited telephone call to Plaintiff and members

of the Class within a 12-month period without their prior express consent to place such calls.

Plaintiff and members of the DNC Class never provided any form of consent to receive telephone

calls from Defendant and Defendant does not have a record of consent to place telemarketing

calls to them.

     83.     Defendant violated 47 C.F.R. § 64.1200(d) by initiating calls for telemarketing

purposes to residential and wireless telephone subscribers, such as Plaintiff and the DNC Class,

without instituting procedures that comply with the regulatory minimum standards for

maintaining a list of persons who request not to receive telemarketing calls from them.


                                               19
       Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 20 of 22




     84.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the DNC Class

members received more than one telephone call in a 12-month period made by or on behalf of

Defendant in violation of 47 C.F.R. § 64.1200, as described above. As a result of Defendant’s

conduct as alleged herein, Plaintiff and the DNC Class suffered actual damages and, under

section 47 U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for such

violations of 47 C.F.R. § 64.1200.

     85.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

recoverable by the members of the Class.

                              SECOND CAUSE OF ACTION
                            VIOLATION OF TCPA, 47 U.S.C. § 227
                         (“Artificial & Pre-Recorded Voice Claim”)

     86.     Plaintiff re-alleges and incorporates by reference each preceding paragraph as

though set forth at length herein.

     87.     Defendant made unsolicited and unauthorized calls using an ATDS or pre-recorded

voice to Plaintiff’s and the Class Members’ cellular telephones for the purpose of marketing

products and/or services to Plaintiff and the Class Members.

     88.     Defendant made the calls without prior express written consent of the Plaintiff and

Class Members.

     89.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, including but not limited to each and every one of the above-cited

provisions of 47 U.S.C. § 227, et. seq.

     90.     Defendant’s conduct invaded Plaintiff’s privacy.




                                               20
          Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 21 of 22




      91.     As a result of Defendant’s violations of 47 U.S.C. § 227, et. seq., Plaintiff and the

Class Members are entitled to an award of $500.00 in statutory damages, for each and every

violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

      92.     Because Defendant had knowledge that Plaintiff and the Class Members did not

consent to the receipt of the aforementioned telephone solicitations, the Court should, pursuant

to 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages recoverable by the Plaintiff

and Class Members.

      93.     Plaintiff and the Class Members are also entitled to and seek injunctive relief

prohibiting such conduct in the future.

                                          ATTORNEYS FEES

      94.     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

      95.     Plaintiff is entitled to recover reasonable attorney fees and requests the attorneys’

fees be awarded.

                                            JURY DEMAND

      96.     Plaintiff, individually and on behalf of the Classes, demands a jury trial on all issues

triable to a jury.

                                        RELIEF REQUESTED

      WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the following

relief:

      a.      An order certifying the DNC class as defined above, appointing Plaintiff as the
              representative of the Class, and appointing his counsel, HUGHES ELLZEY, LLP as
              lead Class Counsel;




                                                21
 Case 1:20-cv-00043-JRN Document 1 Filed 01/14/20 Page 22 of 22




b.    An order certifying the Artificial and Pre-Recorded Voice Class as defined above,
      appointing Plaintiff as the representative of the Class, and appointing his counsel,
      HUGHES ELLZEY, LLP as lead Class Counsel;

c.    An award of actual and statutory damages for each and every negligent violation to
      each member of the Class pursuant to 47 U.S.C. § 227(b)(3)(B);

d.    An award of actual and statutory damages for each and every knowing and/or
      willful violation to each member of the Class pursuant to 47 U.S.C § 227(b)(3)(B);

e.    Injunctive relief prohibiting Defendant’s conduct complained of herein, pursuant
      to 47 U.S.C. § 227(b)(3)(A);

f.    Pre-judgment and post-judgment interest on monetary relief;

g.    An award of reasonable attorneys’ fees and court costs in this action;

h.    All other and further relief as the Court deems necessary, just, and proper.


Dated: January 14, 2020

                                            Respectfully Submitted,

                                            HUGHES ELLZEY, LLP

                                            /s/ Jarrett L. Ellzey
                                            W. Craft Hughes
                                            Texas Bar No. 24046123
                                            craft@hughesellzey.com
                                            Jarrett L. Ellzey
                                            Texas Bar No. 24040864
                                            jarrett@hughesellzey.com
                                            Leigh S. Montgomery
                                            Texas Bar No. 24052214
                                            leigh@hughesellzey.com
                                            1105 Milford St.
                                            Houston, TX 77006
                                            Phone (713) 322-6387
                                            Fax (888) 995-3335

                                            ATTORNEYS FOR PLAINTIFF AND THE
                                            PROPOSED CLASS




                                       22
